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1                           DECLARATION OF SCOTT BIERWIRTH

2         I, Scott Bierwirth, declare as follows:

3         1.   I am a Special Agent with the Federal Bureau of

4    Investigation ("FBI") in Los Angeles, California.             I am currently

 5   assigned to a counter-terrorism squad, where I specialize in the

 6   investigations of domestic terrorist groups.           I attended 21 weeks of

 7   New Agent Training at the FBI Academy in Quantico, Virginia.               Prior

 8   to joining the FBI, I was an Infantry Officer in the United States

 9   Army, where I trained for counter-terrorism related missions across

10   the globe for over four years.        I have knowledge of the facts set

11   forth herein and could and would testify to those facts fully and

12   truthfully if called and sworn as a witness.

13        2.    I am one of the agents assigned to the FBI investigation

14   into Aaron Eason ("defendant") and other individuals associated with

15   the Rise Above Movement ("RAM") who committed acts of rioting at

16   public rallies, including rallies in Huntington Beach, California on

17   March 25, 2017, Berkeley, California on April 15, 2017, San

18   Bernardino, California on June 10, 2017, and Charlottesville,

19   Virginia on August 11-12, 2017.        In connection with that

20   investigation,    I have reviewed surveillance video from those rallies,

21   reports of investigation regarding the rallies, and contents of

22   social media cornrnunications.

23        3.   Attached as Exhibits 1, 2, and 3 are true and accurate

24   copies of screenshots from video taken in Berkeley, California, on

25   April 15, 2017.    Defendant is identified in the screenshots by a red

26   circle.

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 1        4.    Attached as Exhibit 4 are true and accurate copies of

 2   photographs depicting defendant and other RAM members engaging in

 3   training and posing for a photograph.
 4        5.    Attached as Exhibit 5 are excerpts of Facebook posts and

 5   messages between defendant and RAM co-founder Benjamin Daley.                Pages

 6   1 and 2 of Exhibit 5 depict comments made by defendant on posts

 7   originally made by Daley in August 2016.           Page 3 depicts a post made

 8   by defendant on or about December 24, 2016.            Page 4 depicts a message

 9   from defendant to Daley on or about November 21, 2017.
10        I declare under penalty of perjury under the laws of the United

11   States of America that the foregoing is true and correct to the best

12   of my knowledge and belief and that this declaration is executed at

13   Los Angeles, California, on November 26,

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